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                 EXHIBIT 63
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                                                                                  Page 1of2



      Garlitz, Margaret A.

       From:          Grail, Efrem M.
       Sent:          Thursday, June 07, 2007 6:15 PM
       To:            Garlitz, Margaret A.
       Subject:       FW: AmerisourceBergen -- DEA
       Attachments: Letter to Hon Dianne Feinstein.pdf; Form of letter to DEA administrator v3.DOC

     copies



                                              Efrem M. Grail, Esq.
                                                      ReedSmit.hLLP
                                                 www.reedsmith.com




     From: Chou, John [mailto:jchou@amerisourcebergen.com]
     Sent: Thursday, June 07, 2007 5:22 PM
     To: Peter_Cleveland@feinstein.senate.gov
     Cc: Norton, Rita; Frederick Graefe
     Subject: AmerisourceBergen -- DEA

     Peter:

     As a followup to our meeting last week, I have attached for Senator Feinstein's consideration a letter from
     AmerisourceBergen that seeks her assistance in encouraging the Drug Enforcement Administration ("DEA") to
     agree to meet with AmerisourceBergen and move expeditiously in its interactions with AmerisourceBergen
     regarding the suspension of the DEA registration of AmerisourceBergen's Orlando distribution center. We hope
     that Senator Feinstein will consider it appropriate and justified to send a letter to DEA Administrator Karen Tandy
     for this purpose.

     For Senator Feinstein's consideration and convenience, we have provided a form of letter that she might use in
     communicating with DEA Administrator Tandy. The form of letter is contained as an attachment to the letter from
     AmerisourceBergen to Senator Feinstein . The letter to Senator Feinstein, with attachments, is attached as a pdf
     document to this email. For your convenience, I also have attached a Word version of the form of letter to DEA
     Administrator Tandy, should Senator Feinstein wish to use our form of letter as a starting point for any
     communication with the DEA.

     Please contact me if you have any questions about the attached letter or if there is any information that you would
     like us to provide.

     Thank you for your assistance on this matter. As you know from our discussions last week, time is of the essence
     for AmerisourceBergen and any help that we can obtain to accelerate our dealings with the DEA will be greatly
     appreciated .

     Regards,

     John

     John Chou
     Senior Vice President, General Counsel and Secretary
     AmerisourceBergen Corporation




     06/08/2007

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                   ABDCMDL00398338
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                                                                                   Page2of 2


      1300 Morris Drive
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     0610812007

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                       ABDCMDL00398339
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                                                                                    John G. Chou
                                                                                    Sen ior Vice President,
                                                                                    General Counse l & Secretary


                ~                                                                   Ame r;sourceBe:·gen Co rporatio n
                                                                                    1300 Moms Drive
          AmerisourceBergen''                                                       ChestC'rbrook, PA 19087

                                                                                    610.727 .7458 Phon e
                                                                                    6 10.727.3612 Fax
                                                                                    www.;irH'risourcebergen .corn


            June 7, 2007




             The Honorable Dianne Feinstein
             United States Senate
             331 Hart Senate Building
             Washington, DC 20510

             Dear Senator Feinstein:

             I am writing to you on behalf of AmerisourceBergen Corporation. With more than $64
             hill ion in annual revenue, AmerisourceBergen is one of the largest pharmaceutical
             services companies in the United States, providing drug distribution and related services
             for pharmaceutical manufacturers and healthcare providers. AmerisourceBergen' s
             service solutions range from pharmacy automation and pharmaceutical packaging to
             pharmacy services for skilled nursing and assisted living facilities, reimbursement and
             pharmaceutical consulting services, and physician education. AmerisourceBergen Drug
             Corporation ("ABDC"), a subsidiary, di stributes approximately 30% of all of the drugs
             dispensed in the United States to thousands of hospitals, other healthcare providers and
             pharmacies. These healthcare providers, hospitals and pharmacies rely on
             AmerisourceBergen to carry all of the products they need to dispense to patients and to
             deliver the products on a just-in-time basis. AmerisourceBergen employs more than 800
             associates at three major pharmaceutical distribution centers in California and has several
             other smaller facilities in California as well.

             On April 24, 2007, the Drug Enforcement Administration (the "DEA") commenced an
             administrative proceeding against our distribution center in Orlando , Florida (the
             "Orlando Facility''). Specifically, without advance notice, the DEA suspended the
             Orlando facility's registration to distribute controlled substances to pharmacies based on
             allegations that AmerisourceBergen distributed hydrocodone to four DEA-registered
             pharmacies that, according to DEA, AmerisourceBergen should have known were using
             the Internet to engage in improper diversion of the drugs. Notably, two of the four
             pharmacies listed by DEA still bold valid DEA registrations to purchase and dispense
             controlled substances. AmerisourceBergen has substanti al legal and factual defenses to
             the allegations.

             !\s you know from the letter sent to you on May 22, 2007, from our CEO David Yost, we
             support the Online Pharmacy Consumer Protection Act of 2007 and the elimination of




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           The Honorable Dianne Feinstein
           June 7, 2007
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           illicit Internet pharmacies. We believe that the legislation you have sponsored is critical
           because the current law does not provide distributors like us with any standard by which
           to determine which pharmacies are engaged in improper activities and which pharmacies
           are engaged in lawful activities. In addition, DEA has failed to provide any clear
           objective standards or other regulatory-type guidance to assist us as we try to help DEA
           accomplish its mission. Because of the lack of clarity in the law, the absence of other
           guidance and for other reasons, we believe that the action taken by the DEA against us,
           without warning or notice, is unjustified and unwarranted. Historically, we have heen a
           company that has worked very closely with DEA and has always cooperated with DEA.
           Attachment 1 to this letter summarizes some of the cooperation and collaboration
           between AmerisourceBergen and the DEA. You will see, among other things, that
           AmerisourceBergen assisted the DEA on the Operation Cyber Rx (Johar Saran) case of
           which the DEA is so ri ghtfully proud.

           We are suffering significant economic harm from the DEA's arbitrary and unjustified
           action. We have incurred $2.5 to $3 million in expenses alone since April 24, 2007. For
           example, we have had to pay $100,000 in UPS charges per week to supply necessary
           medicine to our validly DEA-registered customers in Florida from a distribution center in
           Columbus, Ohio. We also anticipate losi ng a significant portion of our business in
           Florida as our competitors take advantage of the DEA action and our resulting inability to
           ship to our customers from Florida. Notwithstanding our substantial efforts at our
           expense to assist DEA as described in Attachment 1, we are being portrayed publicly by
           DEA in this action as part of the problem, when the truth is that we have been and will
           continue to be part of the solution. We believe that none of our competitors has
           suspicious order monitoring and customer verification practices that are as stringent as
           ours.

           Although we believe that we would be able to successfully defend ourselves against the
           DEA 's allegations if we v,:erc willing to engage in a long and lengthy legal battle, we also
           believe that the most responsible course of action for us, our stockholders and the public
           is to try to settle this matter with the DEA in a manner that creates a win-win for the DEA
           and the industry by implementing additional anti-diversion procedures at
           AmerisourceBergen that the DEA can hold as a standard fo r all distributors to follow .

           We have tried to engage the DEA in settl ement discussions since April 24, 2007, and
           successfully arranged a number of meetings th at were convened between April 25 and
           mid-May. At those meetings, the DEA indicated its satisfacti on with the numerous
           enhanced anti-diversion procedures that we have implemented in Florida and arc willing
           to implement at all of our 26 distributi on centers across the country. But rather than
           engage in any further substantive negotiations, on M ay 25, DEA declared that regardl ess
           of such enhanced procedures, the Orlando Facility would remain closed until August 25,




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                  ABDCMDL00398341
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           The Honorable Dianne Feinstein
           June 7, 2007
           Page 3


           2007, a clearly punitive measure. We formally submitted a detailed counteroffer to DEA
           on May 29, 2007, but were advised yesterday that our counteroffer was rejected in its
           entirety.

           Most significantly, the DEA rejected our request for a face-to-face meeting to discuss our
           counterproposal and the DEA's position. We believe that a face-to-face meeting is
           necessary, because it was clear as recently as yesterday to our outside counsel, that DEA
           misconstrued portions of our counteroffer. The lack of real engagement by DEA
           continues to delay a resolution of this matter, costing AmerisourceBergen additional
           millions of dollars of expenses, lost business and reputational harm for no legitimate
           reason.

           For the foregoing reasons, we seek your assistance in encouraging the DEA to engage in
           substantive face-to-face discussions on an expedited basis with AmerisourceBergen. We
           have attached a form of letter that we request that you consider sending to DEA
           Administrator Karen Tandy expressing your support for an expedited resolution of our
           matter. To be clear, we are not asking you to intercede on our behalf with respect to the
           substance of the DEA's action. We only ask that the DEA be encouraged to engage with
           us so that we may have the opportunity to resolve the matter before the end of June (more
           than two months from the time the action was first commenced).

           We appreciate your consideration of our request.

           Sincerely,




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                                                  Attachment 1

                            AmerisourceBergen 's History of Cooperation with DEA

          •   Ongoing -- AmerisourceBergen Drug Corportation (ABDC) personnel routinely assist DEA
              with investigations and verification of possible excessive or suspicious purchases. ABDC
              conducts daily reviews of orders by applying pre-determined dosage unit thresholds agreed
              upon with DEA. ABDC sends daily notices of potentially suspicious orders to DEA field
              offices and also compiles and submits monthly summaries for DEA.

          •   Ongoing ABDC conducts internal investigations and continuous monitoring of customers
              placing potentially suspicious orders.

          •   Mid -1990s -ABDC developed a "suspicious order" monitoring program in conjunction with
              the DEA as part of a two-year project. Program implemented in 1998 with DEA approval.
              Program provided for daily and monthly reports of potentially suspicious purchases from
              each of the distribution centers that were monitored and shared with the DEA. DEA later
              asked that the Company provide repor1s only on monthly basis.

          •   1999 to 2005 ABDC assisted DEA in training DEA Diversion Investigators, including
              providing access to distribution facilities and presenting educational programs. ABDC also
              annually hosts DEA trainees from the Government facility at Quantico, Virginia, and ABDC
              regularly invites senior DEA enforcement officers to conduct compliance training for the
              company's distribution center employees.

          •   2002 ABDC participated in an industry task force that developed Controlled Substance
              Ordering System ("CSOS") software to suppmi new regulations being promulgated by DEA.

          •   June 2003 DEA awarded ABDC employees a Certificate of Appreciation for their
              involvement in an investigation of Highland Park Pha1111acy.

          •   October 2004 - DEA provided ABDC an award "in recognition of AmerisourceBergen's
              contribution to drug enforcement and to DEA's training program."

          •   2004 to 2005 - ABDC participated with DEA and the Healthcare Distribution Management
              Association ("HOMA") in drafting and implementing rules for security procedures to prevent
              theft and diversion of List I chemicals.

          •   2005 ABDC cooperated in Operation Cyber-RX, investigation of Johar Saran drug
              trafficking organization. Joseph T. Rannazzisi, the Acting Deputy Assistant Administrator,
              DEA Office of Diversion Control, highlighted this investigation in his Congressional
              testimony on December 13, 2005, concerning illegal sales ofphamiaceuticals over the
              internet.

          •   2005 - ABDC collaborated with DEA lo develop additional processes and controls to help
              identify potentially suspicious internet phannacy orders, including developing with DEA and




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             implementing "best practices" for volume distributors of phamrnceuticals and controlled
             substances.

         •   November 2005 - ABDC investigated Annenia Pharmacy and Jen-Mar Pham1acy, requiring
             both to sign an agreement attesting either to no internet sales or to compliance with existing
             internet dispensing Jaws and requirements.

         •   November 2005 ·· Based on ABDC's diversion compliance procedures, ABDC ceased sales
             to Universal Rx.

         •   December 2005 - ABDC implemented new polic y and procedures that included requiring
             those customers that ABDC investigated and were found not to have any overt signs of
             diversion to fi11 out DEA-approved forms attesting to the nature of their sales before ABCD
             would allow them to continue doing business with the Company. ABDC sought and
             obtained DEA gu idance for this program.

         •   December 2005 to April 2007 - ABDC conducted more than l 00 investigations nationwide,
             cutting off shipments to companies that it could not verify as conducting fully legitimate
             operations. ABDC ceased shipments to several customers despite DEA advising th e
             Company that sales could continue to those customers.

         •   February 2006 - Based on ABDC 's diversion compliance procedures, ABDC refused to open
             a new account for United Prescription.

         •   February 14, 2006 DEA notified the Orlando distribution center that other distributors had
             recently ceased suppl yin g several pharmacies, including fou r with wh ich ABDC's Orlando
             distribution center interacted : United Prescription, Universal Rx, Armenia Pharmacy, and
             Jen-Mar Pham1acy. Before receipt of DEA's notice, ABDC had already cut off Universal
             Rx, refused to open an account for United Prescription, and required Armenia and Jen-Mar
             Pharmac ies to sign agreements restri cting internet sales.

         •   November 3, 2006 - After havi ng identified Avee Pham1acy on suspicio us order reports and
             conducting a site visit, ABDC stopped selling controlled substances to that pharmacy.
             ABDC provided courtesy notifi cation to DEA.

         •   February 2, 2007 - DEA notifies ABDC that it revoked the registration of Avee Phannacy,
             Inc.

         •   February 15, 2007 - ABDC tenn inated Grand Pham1acy as a c ustomer after ABDC
             investi gat ion . DEA revo ked Grand 's registrati on on the same dat e.

         •   February 20, 2007 - ABDC cut off Medassist Rx, LLC following ABDC investigation .

         •   February 2007 - ABDC Orlando distribution center implemented more stringent limits on th e
             number of dosage units of controlled substances in orders placed by customers serviced out
             of that dis tribution center. This new protoco l increased the number of orders nagged by the




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             Company as suspicious and thus reported to DEA, resul ting in 626 suspicious orders reported
             to DEA between March 15, 2007, and April 23, 2007.

         •   April 24, 2007 - DEA served Order to Show Cause and Immediate Suspension of
             Registration, dated April 19, 2007 (the ''OSC"), requiring immediate suspension of
             Certificate of Registration, No. RA02 l 0409, ABDC's Orlando distribution center 's license to
             distribute controlled substances to its registered customers. OSC identifies ABDC shipments
             of alleged "suspicious orders" to four pham1acies: Avec Pharmacy, Grand Phannacy,
             Medassist Rx , and Discount Mail Meds, LLC.

         •   April 24, 2007 - ABCD shut down Florida distribution center's shipments of controlled
             suhstances and immediately suspended all shipments of controlled substances from all
             distribution centers to Discount Mail Meds, the only one of the four dispensing pharmacies
             named in the OSC to which ABDC had not already stopped shipment of controlled
             substances by the time the OSC was issued. ABDC also thoroughly examined all Florida
             accounts, implemented more stringent controls, and reported all potentially s uspicious
             activity to the DEA.

         •   April 27, 2007 - DEA and ABDC entered Order of Special Dispensation to allow Orlando
             distribution center to continue shipping controlled substances to hospitals, clinics,
             Department of Defense faci li ties, pharmacies located w ithin and exclusively servicing the
             aforementioned facilities, and to three additional designated facilities and their respective
             subsidiaries.

         •   Ongoing - ABDC has been working continuously with DEA to develop a new susp icious
             order monitoring system, including developing new parameters for computer monitorin g of
             potentially "suspicious orders."

         •   May 11, 2007 - ABDC closes several accounts serviced by Houston distribution center after
             conducting internal investigations.




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                                                        DRAFT




          June   , 2007




          Honorable Karen Tandy

          Administrator

          Drug Enforcement Administration

          600 Army Navy Drive

          Arlington, VA 22202




          Dear Administrator Tandy:




                 I am writing on behalf of AmerisourceBergen Drug Corporation in connection with the

          suspension of the registration of its Orlando distribution facility (the "Orlando Facility'').

          AmerisourceBergen is headquartered in Valley Forge, Pennsylvania and has substantial

          distribution facilities throughout California and elsewhere in the United States.




                 It is my understanding that the DEA registration of the Orlando Facility was suspended

          on April 24 due to compliance concerns raised by the DEA. I share the DEA's commitment to

          protecting the public safety by requiring high standards of operational oversight and compliance

          at phannaceutical distribution facilities, especially those that are registered to distribute

          controlled substances. In addition, I suppo1i rigorous enforcement efforts in this area that

          reinforce these important priorities.




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                  ABDCMDL00398346
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                 In meetings with AmerisourceBergen officials, l have been infom1 ed they arc committing

          extensive resources to satisfying your demands expeditiously as outlined in a proposed

          settlement agreement between DEA and AmerisourceBergen and as outlined in various

          comm itments tendered by AmerisourceBergen. Notwithstanding AmerisourceBergen's goo d

          faith efforts, J am advised that you have detern1ined to defer reinstatem ent orthe registration of

          the Orlando Facility until August 25, 2007, even if all demands of the D EA are met prior to that

          lime. AmerisourceBergen officials have outlined to me the very severe dai ly economic

          co nsequences of the suspension. In th e interest of fairness, 1 request th at the DEA consider a

          more accelerated tim etable for reinstatement. My hope is that the DEA can reso lve this matter in

          a way that balanc es the public safety imperative agai nst the economic hardship imposed on

          AmerisourceBergen of further delay in reso lvi ng this matter in an appropriate ma nner.




                 ln any event , I request that the DEA respond promptly and affirmatively to

          AmerisourceBergen ' s ongo ing requests for face- to-face negotiations in order to reach a

          settlement of this matter expeditiously. I und erstand that the last face-to-face meeting that

          AmerisourceBergen had with the DEA occuned in mid-May. I believe that it is in the public

          interest to resolve this m atter as quickl y as possihle.




                  Thank you for your consideration of these requests and for your agency's diligent efforts

          to combat diversion of controlled substances.




                                                   Sincerely,




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                                                      DRAFT



       June_, 2007



       Honorable Karen Tandy

       Administrator

       Drug Enforcement Administration

       600 Army Navy Drive

       Arlington, VA 22202



       Dear Administrator Tandy:



               I am writing on behalf of AmerisourceBergen Drug Corporation in connection with the

        suspension of the registration of its Orlando distribution facility (the "Orlando Facility").

       AmerisourceBergen is headquartered in Valley Forge, Pennsylvania and has substantial

       distribution facilities throughout California and elsewhere in the United States.



               It is my understanding that the DEA registration of the Orlando Facility was suspended

        on April 24 due to compliance concerns raised by the DEA. I share the DEA's commitment to

        protecting the public safety by requiring high standards of operational oversight and compliance

        at pharmaceutical distribution facilities, especially those that are registered to distribute

        controlled substances. In addition, I support rigorous enforcement efforts in this area that

        reinforce these important priorities.




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              In meetings with AmerisourceBergen officials, I have been informed they are committing

       extensive resources to satisfying your demands expeditiously as outlined in a proposed

       settlement agreement between DEA and AmerisourceBergen and as outlined in various

       commitments tendered by AmerisourceBergen. Notwithstanding AmerisourceBergen's good

       faith efforts, I am advised that you have determined to defer reinstatement of the registration of

       the Orlando Facility until August 25, 2007, even if all demands of the DEA are met prior to that

       time. AmerisourceBergen officials have outlined to me the very severe daily economic

       consequences of the suspension. In the interest of fairness, I request that the DEA consider a

       more accelerated timetable for reinstatement. My hope is that the DEA can resolve this matter in

       a way that balances the public safety imperative against the economic hardship imposed on

       AmerisourceBergen of further delay in resolving this matter in an appropriate manner.



              In any event, I request that the DEA respond promptly and affirmatively to

       AmerisourceBergen's ongoing requests for face-to-face negotiations in order to reach a

       settlement of this matter expeditiously. I understand that the last face-to-face meeting that

       AmerisourceBergen had with the DEA occmTed in mid-May. I believe that it is in the public

       interest to resolve this matter as quickly as possible.



              Thank you for your consideration of these requests and for your agency's diligent efforts

       to combat diversion of controlled substances.



                                              Sincerely,




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                         ABDCMDL00398349
